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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,

       Plaintiff,                                       Case No. 3:24-cr-55

vs.

THOMAS WILLIAM KENT,                                    District Judge Michael J. Newman

       Defendant.


 ORDER: (1) ADOPTING THE REPORT AND RECOMMENDATION OF THE UNITED
 STATES MAGISTRATE JUDGE (Doc. No. 35); (2) GRANTING THE PARTIES’ JOINT
MOTION FOR CHANGE OF PLEA (Doc. No. 28); (3) ACCEPTING DEFENDANT’S PLEA
OF GUILTY AS CHARGED IN COUNT 1 OF THE SUPERSEDING INDICTMENT; AND
     (4) DEFERRING THE DECISION OF WHETHER TO ACCEPT THE PLEA
              AGREEMENT UNTIL THE SENTENCING HEARING


       This criminal case is before the Court on the Report and Recommendation of the United States

Magistrate Judge (Doc. No. 35), recommending that the Court accept Defendant’s guilty plea. There

being no objections, the Court ADOPTS the Report and Recommendation in full. The parties’ joint

motion to change plea (Doc. No. 28) is GRANTED, and the Court ACCEPTS Defendant’s plea of

guilty as charged in Count 1 of the Superseding Indictment, which charges him with possession of

firearms and ammunition by a person previously convicted of a misdemeanor crime of domestic

violence, in violation of 18 U.S.C. §§ 922(g)(9) and 924(a)(8). The Court DEFERS the decision of

whether to accept the plea agreement until the sentencing hearing.

       IT IS SO ORDERED.

       January 3, 2025                              s/Michael J. Newman
                                                    Hon. Michael J. Newman
                                                    United States District Judge
